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                                    December 10, 2024

  VIA E-FILE

  U.S. States District Clerk
  Eastern District, Beaumont Division
  300 Willow Street Suite 104
  Beaumont, TX 77701

           Re:    Coalition for Workforce Innovation v. Walsh
                  USDC ED TX Case No. 1:21-cv-130,
                  Littman v. U.S. Dep’t of Labor, No. 3:24-cv-00194 (M.D. Tenn.)
                  Response to Notice of Supplemental Authority

  To the Clerk:

        Defendants purport to submit as “supplemental authority” an out-of-circuit
  magistrate judge’s report and recommendation to dismiss another case challenging
  the 2024 Rule for lack of standing. ECF No. 104 (citing Littman v. U.S. Dep’t of
  Labor, No. 3:24-cv-00194 (M.D. Tenn. Nov. 13, 2024). No Article III judge has yet
  adopted this non-binding report, which “is nothing like” a judicial decision because
  “the magistrate’s role ... is advisory, not adjudicatory.” United States v. Cooper, 135
  F.3d 960, 963 (5th Cir. 1998). The report is thus no “authority” at all—let alone the
  kind of “intervening decision[]” or “significant authorit[y]” that is appropriate for
  supplemental submission to a court. Cf. 5th Cir. R. 28.4; Fed. R. App. P. 28(j)
  (emphases added).

         Regardless, the magistrate’s reasoning in Littman has no bearing here.
  Littman is a suit by two freelance writers. See Littman Report 1, 5. According to
  the magistrate judge, those plaintiffs’ “fatal problem” is that there is “no evidence in
  the record—for example, no affidavits”—to substantiate their fears that
  “unidentified companies” would “cease to work with them or that their future
  business practices will be chilled because of the implementation of the 2024 Rule.”
  Id. at 17, 21. But any failure of those freelance writers to adduce evidence of the
  harms they alleged is irrelevant to this case, where plaintiffs are business
  associations representing identified companies who use independent contractors.

    littler.com
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  Here, plaintiffs have submitted a robust evidentiary record of harms imposed on
  them as direct “object[s]” of DOL’s Rule. ECF No. 100 at 2 (collecting record
  citations including declarations). This case thus presents exactly the “concrete link”
  between the 2024 Rule and plaintiffs’ injuries that the magistrate judge considered
  lacking in Littman. Report 17.

                                         Respectfully,

                                         /s/ Robert F. Friedman
                                         Robert F. Friedman
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                                         James A. Paretti, Jr. (pro hac vice)
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  cc: All counsel of record via ECF
